
W. EUGENE DAVIS, Circuit Judge:
Petitioner, Dhanvir Toora, proceeding pro se, raises on appeal the question of whether the departure bar, 8 C.F.R. § 1003.23(b)(1), applies to an alien who departs the United States after receiving notice of his deportation proceeding, but before the proceeding is completed and the Immigration Judge (“IJ”) enters a deportation order. We find the departure bar does apply in this situation and divests the IJ of jurisdiction to hear the alien’s motion to reopen his deportation proceeding.
I. FACTS
Toora is a native of India. He illegally entered the United States in February 1995 without being inspected by an immigration officer. The day after his entry, Toora was personally served with an Order to Show Cause why he should not be deported for entering the United States without inspection pursuant to then 8 U.S.C. § 1251(a)(1)(B) (now 8 U.S.C. § 1227(a)(1)(B)). Toora was detained at the Port Isabel Service Processing Center (“PISPC”) in Los Fresnos, Texas.
On March 13, 1995, a Notice to Appear (“NTA”) was sent to Toora, care of PISPC, notifying him that his deportation hearing was scheduled for April 3, 1995. The Notice also stated that if Toora failed to appear at the scheduled deportation hearing, he could be ordered deported in absentia.
Also on March 13, 1995, Toora posted bond and was released from custody. Toora reported that he was moving to a New York address. Toora left the United States on March 23, 1995, and returned to India without notifying INS of his departure.
On April 3, 1995, Toora’s deportation proceeding was held. Toora was not in attendance and the IJ ordered Toora deported in absentia. The IJ determined that the record showed by clear and convincing evidence that Toora was provided with a written NTA and that he could be deported.
On August 27, 1995, Toora re-entered the United States under a different name. He did not disclose his prior entry or the April 1995 deportation proceedings of which he had received notice. Upon his re-entry, Toora applied for asylum. Unaware of Toora’s prior entry and deportation, an INS asylum officer granted Toora asylum.
In March 2007, DHS informed Toora of its intention to rescind the August 1995 grant of asylum. DHS stated that the INS asylum officer had been without jurisdiction to grant asylum because of Toora’s *284earlier deportation proceedings. According to the DHS, 8 C.F.R. § 208.2(b) (now 8 C.F.R. § 1208.2(b)) gives immigration judges exclusive jurisdiction over asylum applications filed by aliens who are in deportation proceedings. DHS asserted that Toora had been ordered deported in April 1995, but that the order was never executed. DHS reasoned, therefore, that the deportation proceedings remained pending and thus the IJ retained exclusive jurisdiction over Toora’s asylum application, to the exclusion of the INS officer. Based on this reasoning, DHS concluded the August 1995 grant of asylum by the INS asylum officer was void ab initio.
Toora did not challenge the DHS position that the asylum officer had been without jurisdiction. Instead, Toora responded by filing a motion to reopen and rescind the April 1995 in abstentia deportation order. Toora argued that he never received the NTA for the April 3, 1995 deportation hearing. The IJ first determined that Toora received written notice of the April 1995 deportation hearing. The IJ further found that under 8 C.F.R. § 1003.23(b)(1) (referred to as the “departure bar”), he lacked jurisdiction to consider the motion to reopen and denied the motion. Alternatively, the IJ determined that assuming he did have jurisdiction, Toora’s motion should be denied because it was time-barred pursuant to 8 C.F.R. § 1003.23(b)(4)(iii)(A)(l), which requires that a motion to reopen a deportation order entered in absentia must be filed within 180 days after the order of deportation is entered.
Toora appealed the IJ’s order to the Board of Immigration Appeals (“BIA”). The BIA dismissed Toora’s appeal. First, the BIA affirmed the IJs finding that Toora received notice of the April 1995 deportation hearing. The BIA concluded, however, that the IJ did have jurisdiction to hear Toora’s motion to reopen because the departure bar was inapplicable. The BIA, nonetheless, agreed with the IJ that Toora’s motion was. time-barred and that no equitable tolling excused the late filing because Toora failed to exercise due diligence in seeking a rescission of the April 1995 deportation order. The BIA then affirmed the denial of the motion to reopen.
Toora timely appealed the BIA’s order.
II. STANDARD OF REVIEW
This court has jurisdiction to hear this appeal under 8 U.S.C. § 1252(a)(1). On a petition for review of a decision of the BIA, we review questions of law de novo and findings of fact for substantial evidence. Sung v. Keisler, 505 F.3d 372, 375 (5th Cir.2007) (citing Lopez-Gomez v. Ashcroft, 263 F.3d 442, 444 (5th Cir.2001)). In reviewing the BIA’s interpretation of immigration statutes, where Congress has evidenced a clear and unambiguous intent concerning the question before this court, we must give effect to Congress’s intent. White v. INS, 75 F.3d 213, 215 (5th Cir.1996) (citing Chevron, U.S.A., Inc. v. NRDG, 467 U.S. 837, 842-43, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)). If a statute is silent or ambiguous, we will defer to the agency’s interpretation of the provisions the agency administers, so long as those interpretations are based on a permissible construction of the statute. Id. (citing Chevron, 467 U.S. at 843, 104 S.Ct. 2778).
III. ANALYSIS
The threshold issue on appeal is whether the IJ' had jurisdiction over Toora’s motion to reopen.1 Toora argues *285on appeal that the IJ correctly held that he lacked jurisdiction to consider Toora’s motion to reopen the April 1995 deportation proceeding because Toora was subject to deportation proceedings when he depai*ted the United States. Toora bases his argument on his interpretation of the regulation establishing the departure bar, which states in pertinent part that “[a] motion to reopen or to reconsider shall not be made by or on behalf of a person who is the subject of removal, deportation, or exclusion proceedings subsequent to his or her departure from the United States....” 8 C.F.R. § 1003.23(b)(1). Toora argues that this regulation divested the IJ of jurisdiction to hear his motion to reopen and reconsider his April 1995 deportation.2
The Government argues that the BIA was correct in determining that the IJ had jurisdiction to hear Toora’s motion. The Government contends that the departure bar applies only when an alien departs the United States after an order of deportation is entered.
Toora argues first that the IJ and the BIA erred in finding that Toora received the NTA before he departed the country on March 23, 2007. Our review of the record reveals that substantial evidence supports that finding, and we see no basis to disturb this finding of fact. Because Toora received notice of his deportation proceeding and he was deportable based on his entering the United States without inspection, the original IJ had the authority pursuant to 8 C.F.R. § 1003.26 to hold a deportation hearing and enter a valid deportation order in absentia.
Because a valid deportation order was entered against Toora, the question in this case narrows to whether the departure bar applies to an alien who departs the United States after receiving notice of his deportation proceeding, but before the actual proceeding concludes and an IJ enters a valid deportation order. This court has considered the application of the departure bar when the alien departs the United States after termination of removal proceedings. In Ovalles v. Holder, 577 F.3d 288 (5th Cir.2009), an alien was convicted of a felony and removed from the United States following a removal hearing before an IJ and an appeal to the BIA. Three years after his removal, the alien filed a motion with the BIA to reopen and reconsider his removal proceedings in light of a United States Supreme Court case decided after he was deported. We held that the departure bar applies to aliens who depart the United States after the termination of their removal proceedings, and that the IJ lacked jurisdiction to hear the alien’s motion to reopen his case. See also Matter of Armendarez-Mendez, 24 I &amp; N Dec. 646, 65152 (BIA 2008) (holding that the departure bar prohibited an alien from invoking BIA’s jurisdiction to consider his motion to reopen when the motion was filed after the alien’s departure from the United States following a final administrative order of removal).
*286The Ninth Circuit has examined the application of the departure -bar to an alien who departs the United States before removal proceedings are initiated. In Singh v. Gonzales, 412 F.3d 1117 (9th Cir.2005), an alien remained in the United States past the time authorized on his visitor visa. The alien initially applied for asylum, but then wrote a letter withdrawing his asylum application and departed the United States. The asylum office was not aware that the alien had departed the United States and served a NTA on the alien’s last known address. When the alien did not appear, the IJ ordered him removed in absentia. More than three years later, the alien filed a motion to reopen his removal proceedings. The IJ denied the alien’s motion. The BIA cited the departure bar as the reason that it did not have jurisdiction to hear the alien’s motion to reopen the case. In its review of the BIA’s decision, the Ninth Circuit held, inter alia, that the departure bar only applied in cases where the alien’s departure occurred after the removal proceedings were initiated. Id. at 1121. In reaching this conclusion, the Ninth Circuit stated:
The Board interpreted [the departure bar] to mean that any time a petitioner files a motion to reopen after departing the country, the motion is barred. The Board’s interpretation forgets a fundamental premise: the scope of this regulation is clearly limited to persons who depart the United States after removal proceedings have already commenced against them. Removal proceedings would have to commence before a motion to reopen or reconsider is procedurally possible. Thus, the plain language of this regulation is limited to persons who depart the U.S. after removal proceedings have already commenced against them....
The Board’s interpretation of this regulation also conflicts with established law. Under the Board’s reading of the regulation in this case, the clause “who is the subject of ... removal proceedings” modifies the phrase “subsequent to his or her departure.” However, the well-settled interpretation of this regulation is that the clause “who is the subject of ... removal proceedings” modifies the term “person.” The sentence as a whole is taken to mean that “a person who leaves the U.S. after removal proceedings have already been initiated is barred from filing a motion to reopen.”
Id. (citation omitted) (emphasis in original).
Based on these cases, it is clear that the departure bar applies to an alien who is in removal proceedings and departs the United States after an order of removal is entered against him. And it is clear that the departure bar does not apply to an alien who departs the United States before removal proceedings are initiated. These cases, however, do not explicitly answer the question of whether the departure bar applies when an alien departs the United States after removal proceedings are initiated but before an order of removal is entered.
The above quoted paragraph in Singh, however, is helpful to us in analyzing the instant case in that it reasons that the bar applies after “removal proceedings have already been initiated.” Because removal proceedings had been initiated in today’s case before Toora departed the country, this language supports the view that the departure bar applies.3
*287Furthermore, the plain language of the departure bar supports the view that it applies to an alien who departs the country after removal proceedings are initiated against him. The rule on its face applies to “a person who is the subject of removal proceedings” and it is not limited to persons who depart the country after they have been ordered removed.
This conclusion is further buttressed by a First Circuit case, Shah v. Mukasey, 533 F.3d 25 (1st Cir.2008). In Shah, the alien entered the United States with authorization to temporarily remain in the United States. The alien then applied for asylum, but DHS referred his case to an IJ because DHS found the alien’s testimony to not be credible. A NTA was sent to the alien at the address he provided. The alien failed to appear at his hearing, and the IJ entered a removal order in absentia. Four years later, the alien filed a motion to reopen his case alleging that he did not receive notice of the original hearing because he was in Canada when the notice was delivered. Recounting the decisions of the IJ and BIA, the First Circuit stated:
[T]he IJ denied the motion to reopen. ... The BIA affirmed the IJ’s decision. It noted that Shah acknowledged that he had departed the United States for Canada during the pendency of his removal proceedings. Consequently, it found that he was barred from filing a motion to reopen based upon 8 C.F.R. § 1003.23(b)(1), [the departure bar]....
Id. at 26. On appeal, the First Circuit deferred to the factual determinations of the BIA and held that when an alien receives notice of his deportation proceeding and departs the country during the pendency of his deportation proceeding but before the issuance of the removal order, the departure bar applies.
The government argues that the BIA’s interpretation of the departure bar is not arbitrary and we should accept that interpretation. We agree with the Government that generally we owe deference to the BIA’s interpretation of their own regulation. See Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 844-45, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984). However, we perceive no ambiguity in the application of the departure bar to the facts of this case. The regulation clearly states that the bar applies to an alien who departs after the initiation of the deportation proceedings. The regulation does not limit the application of the departure bar to aliens who leave the country before the deportation order is issued. In this case, Toora departed after the initiation of the deportation proceedings.
In finding the departure bar inapplicable, the BIA relied on one of its earlier opinions, Armendarez-Mendez, 24 I &amp; N Dec. 646, which has little relevance to the facts of this case. In Armendarez-Mendez, the alien was physically removed from the country after the deportation order was issued, so the applicability of the bar to an alien who left the country before the deportation order was issued was not considered. Similarly, all of the cases relied upon by the Government to support the BIA’s interpretation of the regulation are cases in which the deportation order was issued before the alien left the country. None of the language relied upon by the Government indicates that these courts intended to address in any manner the fact *288pattern before us, that is when the alien was in deportation proceedings but left the country before the deportation order was issued. Except for its reliance on these distinguishable cases, the Government makes no effort to square its interpretation of the regulation with the regulation’s plain language.
Because the BIA offers no authority, analysis, or explanation for its interpretation of the regulation, and because that interpretation does not “rationally flow from the language of the regulation,” we decline to give deference to the BIA’s interpretation. Navarro-Miranda v. Ashcroft, 330 F.3d 672, 675 (5th Cir.2003) (“Courts grant an agency’s interpretation of its own regulations considerable leeway. However, while an agency interpretation of a regulation is entitled to due deference, the interpretation must rationally flow from the language of the regulation.” (quotations and citations omitted)).
Based upon the plain language of the regulation and the authorities and analysis discussed above, we agree with the IJ that the departure bar applies to divest the IJ of jurisdiction to consider Toora’s motion to reopen. Before Toora departed the United States he received the NTA, and thus the removal proceedings were initiated at that time. Instead of appearing at the deportation proceedings to defend his interests, Toora elected to leave the United States on March 23, 2007. When Toora failed to appear for his deportation hearing, the IJ entered a valid deportation order in absentia. Because Toora left the United States after the initiation of removal proceedings, the IJ lacks jurisdiction to hear Toora’s motion to reopen the proceedings under the departure bar, even though the deportation order was entered after Toora left the country.
IV. CONCLUSION
For the reasons stated above, we grant the petition for review and remand this case to the BIA to dismiss the motion to reopen for the IJ’s lack of jurisdiction.

. Toora also raises the issue on appeal of whether the IJ in April 1995 had jurisdiction *285to order him deported. However, Toora did not raise this issue to the BIA. Therefore, Toora has failed to exhaust his remedy with regards to the argument, and we do not have jurisdiction to consider it. See 8 U.S.C. § 1252(d); Omari v. Holder, 562 F.3d 314, 318 (5th Cir.2009).


. It is not clear to us how acceptance of this argument advances Toora’s objective to obtain asylum. If the IJ was divested of jurisdiction pursuant to the departure bar, it may be that Toora will argue to DHS that the INS asylum officer had jurisdiction to grant Toora asylum in August 1995. However, there are obvious differences between jurisdiction to grant asylum and jurisdiction to consider a motion to reopen a deportation proceeding. This issue is not presented to us, and we have no reason to comment further on it.


. Pursuant to 8 U.S.C. § 1229(a)(1), immigration proceedings initiate on the date the alien receives his NTA. See Saqr v. Holder, 580 F.3d 414, 421 (6th Cir.2009) ("[P]roceedings are 'initiat[ed]’ by providing written notice to the alien to appear before an immigration *287judge.”); Terezov v. Gonzales, 480 F.3d 558, 563 (7th Cir.2007) ("To initiate removal proceedings, the DHS must serve a Notice to Appeal on the alien....”); Haider v. Gonzales, 438 F.3d 902, 908 (8th Cir.2006) ("... [T]he INS initiates removal proceedings by personally serving an alien with an NTA....”).

